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                    Exhibit A -
            Plaintiffs Complaint, and
   Order Amending Caption and Substitution of
             Proper Party Defendant
    Case 2:21-cv-11745-LVP-KGA ECF No. 1-1, PageID.13 Filed 07/28/21 Page 2 of 14


 Approved,SCAO                                            Original - Court                   2nd Copy - Plaintiff
                                                          1st Copy- Defendant                3rd Copy -Return
           STATE OF MICHIGAN                                                                                     CASE NO.
          THIRD JUDICIAL CIRCUIT                                    SUMMONS                                    21-007709-NO
             WAYNE COUNTY                                                                                   Hon.Brian R.Sullivan
 Court address:2 Woodward Ave., Detroit MI 48226                                                                Court telephone no.: 313-224-2447
  Plaintiff's name(s),address(es), and telephone no(s)                              Defendant's name(s), address(es),and telephone no(s).
  Talmadge, Giovanna                                                     v          Lowe's Companies, Inc.

  Plaintiff% attorney, bar no.,address,and telephone no
  John F. Turck 67670
  1327 Jones Dr Ste 105
  Ann Arbor, MI 48105-1894

 Instructions: Check the items below that apply to you and provide any required information. Submit this form to the court clerk along with
 your complaint and, If necessary, a case inventory addendum (form MC 21). The summons section will be completed by the court clerk.

  Domestic Relations Case
  ❑ There are no pending or resolved cases within the jurisdiction of the family division of the circuit court involving the family or family
     members of the person(s)who are the subject of the complaint.
  ❑ There is one or more pending or resolved cases within the jurisdiction of the family division of the circuit court involving the family or
     family members ofthe person(s)who are the subject of the complaint. I have separately filed a completed confidential case inventory
    (form MC 21)listing those cases.
  ❑ It Is unknown if there are pending or resolved cases within the jurisdiction of the family division of the circuit court involving the family
     or family members of the person(s)who are the subject of the complaint.

  Clvll Case
  ❑ This is a business case in which ail or part of the action includes a business or commercial dispute under MCL 600.8035
  ❑ MDHHS and a contracted health plan may have a right to recover expenses In this case. I certify that notice and a copy of the
     complaint will be provided to MDHHS and (if applicable)the contracted health plan In accordance with MCL 400.106(4).
  ❑ There Is no other pending or resolved civil action arising out of the same transaction or occurrence as alleged in the complaint.
  ❑ A civil action between these parties or other parties arising out of the transaction or occurrence alleged in the complaint has

      been previously filed In ❑ this court, ❑                                                                       Court,
     where it was given case number                              and assigned to Judge

     The action ❑ remains ❑ is no longer pending.

   Summons section completed by court clerk.                        SUMMONS

NOTICE TO THE DEFENDANT: In the name ofthe people of the State of Michigan you are notified:
1. You are being sued.
2. YOU HAVE 21 DAYS after receiving this summons and a copy of the complaint to file a written answer with the court and serve a
    copy on the other party or take other lawful action with the court(28 days If you were served by mail or you were served outside
     this state).
3. If you do not answer or take other action within the time allowed,Judgment may be entered against you for the relief demanded In the
   complaint.
4. If you require special accommodations to use the court because of a disability or If you require a foreign language Interpreter to help
    you fully participate in court proceedings, please contact the court immediately to make arrangements.

Issue date                                               Expiration date*                    Court clerk
6/24/2021                                                9/23/2021                           Anglia Mayfield
                                                                                                             Cathy M. Garrett- Wayne County Clerk.
*This summons is invalid unless served on or before its expiration date. This document must be sealed by the seal of the court.

MC 01 (9/19)                  SUMMONS                                  MCR 1.109(D), MCR 2.102(B), MCR 2.1403, MCR 2.104, MCR 2.105
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                                                                                                                      SUMMONS
                                                                                                         Case No.:21-00T709-NO

                                                                PROOF OF SERVICE
 TO PROCESS SERVER: You are to serve the summons and complaint not later than 91 days from the date offiling or the date of
 expiration on the order for second summons. You must make and file your retum with the court clerk. If you are unable to complete
 service you must return this original and all copies to the court clerk.

                                        CERTIFICATE / AFFIDAVIT OF SERVICE / NONSERVICE

               ❑      OFFICER CERTIFICATE                                 OR                ❑ AFFIDAVIT OF PROCESS SERVER

 I certify that I am a sheriff, deputy sheriff, bailiff, appointed                  Being first duly swom, I state that I am a legally competent
 court officer, or attomey for a party(MCR 2.104[A][2]), and                        adult, and I am not a party or an officer of a corporate party
 that (notarization not required)                                                   (MCR 2.103[A]), and that         (notarization required)

 ❑ I served personally a copy of the summons and complaint.
 ❑ I served by registered or certified mall(copy of retum receipt attached)a copy of the summons and complaint,
   together with
                          List all documents served with the Summons and Complaint


                                                                                                                            on the defendant(s):

 Defendant's name                                     Complete address(es)of service                     Day, date, time




 ❑ I have personally attempted to serve the summons and complaint, together with any attachments, on the following defendant(s)and
     have been unable to complete service.
 Defendant's name                                    Complete address(es)of service                      Day,date, time




 I declare under the penalties of perjury that this proof of service has been examined by me and that its contents are true to the best of my
 information, knowledge, and belief.

Service fee            Miles traveled    Fee                                    Signature
$                      $                 $
Incorrect address fee Miles traveled     Fee        Total fee                   Name(type or print)
$                                        $          $
                      $                        .
                                                                                Title
Subscribed and swom to before me on                                                                                         County, Michigan.
                                                   Date
My commission expires:                                      Signature:
                               Date                                                  Deputy court clerk/Notary public

Notary public, State of Michigan, County of

                                                       ACKNOWLEDGMENT OF SERVICE

I acknowledge that I have received service of the summons and complaint, together with
                                                                                                            Attachments
                                                                     on
                                                                                        Day,date, time

                                                                     on behalf of
 Signature
                                             Case 2:21-cv-11745-LVP-KGA ECF No. 1-1, PageID.15 Filed 07/28/21 Page 4 of 14
         6/24/2021 2:15 PM Anglia Mayfield




                                                                                         STATE OF MICHIGAN

                                                                     IN THE CIRCUIT COURT FOR THE COUNTY OF WAYNE


                                                       GIOVANNA TALMADGE,

                                                                        Plaintiff,
                                                                                                              File No.21-            -NO
                                                       v
                                                                                                              Hon.
                                                       LOWE'S COMPANIES,INC.,

                                                                        Defendant.                            E-FILING CASE          •


                                                      Thomas H.Blaske(P26760)
                                                      John F. Turck IV(P67670)
                                                      BLASKE & BLASKE,P.L.C.
                                                      Attorneys for Plaintiff
                                                      Thomas H.Blaske(P26760)
                                                       1327 Jones Drive, Suite 105
                                                      Ami -Arbor, MI 48105
                                                      (734)747-7055



                                                                                          COMPLAINT
                                                            There is no other civil action between these parties arising out of the same
                                                            transaction or occurrence as alleged in this Complaint pending in this Court, nor
                                                            has any such action been previously filed and dismissed or transferred after having
                                                            been assigned to ajudge,nor do I know ofany other civil action,not between these
                                                            parties, arising out of the same transaction or occurrence as alleged in this
21-007709-NO FILED IN MY OFFICE




                                                            Complaint thatis either pending or waspreviously filed and dismissed,transferred,
                                                            or otherwise disposed ofafter having been assigned to a judge in this Court.

                                                                                                             /s/ John F. Turck N
                                                                                                             Thomas H. Blaske(P26760)
                                                                                                             John F. Turck N(P67670)
Case 2:21-cv-11745-LVP-KGA ECF No. 1-1, PageID.16 Filed 07/28/21 Page 5 of 14




          Plaintiff, by and through her attorneys, Blaske & Blaske, P.L.C.,for her Complaint says:

                                  PARTIES,VENUE,AND JURISDICTION

          1.     Plaintiffis a resident ofthe Charter Township of Canton, Wayne County, Michigan.

          2.     Defendant Lowe's Companies, Inc.,(hereinafter "Lowe's") is a retail corporation with

                 business operations, including several stores, located in Wayne County, Michigan.

         3.      Venue is proper because Plaintiffs original injury occurred at a store operated and owned

                 and operated by Defendant in Wayne County, Michigan.

         4.     The amount of harm done to Plaintiff as a result of Defendants' negligence exceeds

                $25,000 and is otherwise within the jurisdiction of this court.

                                        STATEMENT OF THE CASE

         5.     On June24,2020 atapproximately6:30pm,PlaintiffGiovanna Talmadge visited a Lowe's

                Home Improvement store located at 44080 Ford Road,in Canton, Michigan.

         6.     As Mrs. Talmadge approached the entrance to the building adjacent to the lumber yard at

                the store, she spotted a cart with drywall and OSB subflooring that she was interested in

                purchasing, and so she asked a Lowe's employee if she could remove a sheet of

                subflooring from the cart.

         7.     The sheet of subflooring was 4 ft x 8 ft in size, and weighed an estimated 50 pounds or

                more.

         8.     Despite Mrs. Talmadge's offer to remove the sheet of subflooring herself, the Lowe's

                employee insisted on moving it for her.

         9.     Asthe Lowe'semployee pulled the sheetofsubflooring,he accidentally dropped it directly

                on Mrs. Talmadge's right foot, crushing her toes through her tennis shoe.


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          10.   The sheet ofsubflooring landed with so much force on her foot that it not only left a paint

                mark(from the edge of the OSB subflooring), but also left a distinct indentation on the

                fabric ofthe shoe itself:




          11.   Mrs. Talmadge felt her foot beginning to painfully swell, so she returned to her car and

                called her husband for help.

          12.   Mrs.Talmadge's husband met her at her car a few minutes later and helped her take offher

                shoe, revealing her injured foot to be lacerated, already black and blue, and significantly

                swollen.

         13.    Plaintiff's husband then spoke to a Lowe's store manager, who came out to see Mrs.

                Talmadge at her car, and who then wrote about the injury in an incident report.


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          14.   Mrs. Talmadge's counsel has previously submitted several requests to Defendant asking

                for a copy of the incident report and the security camera surveillance footage of the

                incident, but Defendant has either ignored or refused to act on these requests.

          15.   Mrs.Talmadge returned home to talk with her mother, who is a registered nurse,and who

                lives next door to Plaintiff and her family.

          16.   Shortly thereafter, Mrs. Talmadge husband rushed her to Canton Urgent Care Walk-In

                Clinic, where treaters diagnosed her with a fractured right great proximal phalanx as a

                result ofthe Lowe's employee dropping the heavy board on her foot.

          17.   The injury caused neuritis and nerve damage in Mrs.Talmadge's right foot, which has left

                her with no motor control over her right big toe.

          18.   Due to Mrs. Talmadge's inability to move her big toe, she is unable to walk properly and

                has been forced to walk on the outer side of her right foot.

          19.   Walking on the outer side of her right foot in turn has caused Mrs. Talmadge to develop

                severe right ankle pain, as well as right hip and knee problems.

          20.   At times, Mrs. Talmadge's right ankle pain is so severe that she is unable to bear any

                weight on it for as much as an entire day.

          21.   Plaintiff's physical therapist, Kelly Poppaw,PT,from Probility Physical Therapy,stated

                the following about Mrs. Talmadge's condition at an encounter on February 9,2021:




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                                                               Assessment
                  Giovanna M Talmadge is a 33 y.o.female who attends physical therapy for
                                                                                                  a severe crush injury
                  of right 1st phalanx that has affected right lst MTPjoint with injury occurring
                                                                                                      on 6-24-2020 at
                  Lowe's hardware store when an employee dropped a hard object greater than 100
                                                                                                            pounds on
                  her foot. Patient suffered a non-displaced fracture, which has now resolved,
                                                                                                    per script.
                  Functional limitations include prolonged sitting, prolonged walking, going
                                                                                                  up/down stairs or an
                  incline, and doing housework she she has to stand/walk for prolonged periods
                                                                                                       of time. She
                  said occasionally she gets significantly sharp pain on lateral ankle as well, and
                                                                                                      described the
                 feeling as "a tendon slipping and makes her distal fibula slip downward." Pt
                                                                                                    reports she
                 compensates by walking on the outside of her foot due to pain at great toe. Noteworth
                                                                                                                 y,
                 patient plans to have a surgery on her left ankle due to a cyst formation and significant
                 hypermobility, but has not had this yet She also notes she broke her left ankle
                                                                                                       when she was
                 16 and ever since she has had recurrent sprains and has hypermobility. Pt reports
                                                                                                          1 fall in the
                 last year since the right foot injury due to left ankle giving out. Pt presents
                                                                                                 with decreased R
                 ankle and great toe AROM/PROM,significantly decreased R toe/foot/ankle
                                                                                                  strength, and
                 significant gait deviations with decreased weight bearing into R LE especially along
                                                                                                           the medial
                 side of her foot. Palpation reveals hypomobility of right distal tibiofibular, talocrual,
                                                                                                            tarsals and
                 1st MTP joint Her cuboid was palpated to be significantly supinated likely
                                                                                                 due to patient
                spending majority of her ambulation on the lateral surface of her foot. Her
                                                                                                  ability to dorsiflex
                and plantar flex her great toe showed trace muscle contraction, but improved
                                                                                                     slightly after
                joint mobilization. It appears that her crush injury has led to significant weakness
                                                                                                         in her R foot
                leading to pain and limited tolerance to the aforementioned functional tasks.
                                                                                                    Her presentation .
                is consistent with referring diagnosis. Pt is a fair candidate for skilled rehabilitat
                                                                                                       ion at this time
                to address impairments listed above and has a fair prognosis to reach their
                                                                                                 functional goals.

          22.     Now nearly a year after her injury, Mrs. Talmadge still needs physical therapy, which she

                  now receives at Probility Physical Therapy.

          23.     On April 12, 2021 Mrs. Talmadge's injured right ankle gave out while she was walking

                 down the stairs ofher home.

         24.     As a result,she fell down the flight of wooden stairs and landed on her back.

         25.     Mrs. Talmadge's husband rushed her to the Beaumont Hospital emergency department in

                 Wayne,where treaters diagnosed her with newly-tom ligaments and fractures in her right

                 foot and ankle,but even capable treaters there were unable to assess the full extent ofher

                 injuries, due to the severity ofswelling in her foot and ankle.




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          26.   Ifit were not for the incident at Lowe's on June 24,2020, Mrs. Talmadge's ankle would

                have been able to support her weight,and she would not have fallen down the stairs in her

                home in April.

          27.   Prior to the events described in this Complaint, Ms. Talmadge was an active homemaker

                and mother ofthree young children.

          28.   As a direct and proximate result ofthe Lowe's employee's negligence,Mrs.Talmadge has

                suffered serious,long-lasting injuries that have affected her ability to care for her children

                and to move without pain.

          29.   As a direct and proximate result of Lowe's' negligence, Ms. Talmadge has suffered,

                continues to suffer and will in the future likely permanently suffer both economic and non-

                economic harm including, but not limited to pain and suffering, mental anguish, medical

                expense,lost earning capacity, anxiety about her future and denial ofher usual social and

                recreational pleasures and enjoyments.

                                          COUNT I: NEGLIGENCE

          30.   Plaintiffincorporates by this reference all previous paragraphs.

         31.    At all relevant times, Defendant and its employees owed Plaintiffthe following duties:

                a.   The duty to avoid injuring or harming her and others similarly situated by exercising

                     reasonable care when handling heavy loads;

                b.   The duty not to drop merchandise on her;

                c.   The duty to warn customers and all persons in the surrounding areas, including

                     Plaintiff, ofDefendant's handling ofawkward or heavy merchandise;




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                 d.   The duty to clear a safe place for its employees to handle awkward or heavy

                      merchandise; and

                 e.   The duty to slow down and allow for people,including Plaintiff, to get out ofthe way

                      while handling awkward or heavy merchandise.

          32.    Defendant,acting through its employee,breached each ofthese duties as described herein.

          29.    Defendant and its employee knew or should have known that moving awkward and/or

                 heavy loads in veryclose proximity to customers,including Mrs.Talmadge,was dangerous

                 and might result in harm to others, including Mrs. Talmadge.

          30.    As a direct and proximate result ofLowe's and its employee's negligence,Mrs.Talmadge

                foot was crushed by a heavy piece of plywood, directly and proximately resulting in the

                serious injuries and damages described herein.

          31.   Those injuries and damages include but are not limited to each of the following:

                a.    Fractured right foot;

                b.    Nerve damage;

                c.    Impairment of ability to move her right toe;

                d.    Past, present and future pain and suffering,

                e.    Past, present and future mental anguish;

                f.    Denial ofsocial pleasures and enjoyments;

                g.    Past, present and future medical monitoring and hospital care and treatment;

                h.    Impairment of her ability to care for her three children;

                i.    Impairment of her ability to walk properly,

                j.    Knee, hip and ankle injuries;


                                                   Page 7 of8
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s'




                      k.    Medical expenses;

                      1.    Diminished earning capacity; and

                      m.    Other damages as may be revealed by discovery and permitted by law.

               WHEREFORE,Plaintiff demandsjudgment against Defendant in whatever amount she shall be

               found to be entitled,together with interest,costs and attorney fees,and any other reliefappropriate

               and permitted by law.



               Dated: June 24,2021                                      /s/ John F. Turck IV
                                                                        Thomas H. Blaske(P26760)
                                                                        John F. Turck IV (P67670)
                                                                        BLASKE & BLASKE,P.L.C.
                                                                        Attorneys for Plaintiff
                                                                         1327 Jones Drive, Suite 105
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                                                                        thb@blaske.com
                                                                        jt4®blaske.com




                                                         Page 8 of8
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                                             STATE OF MICHIGAN

                         IN THE CIRCUIT COURT FOR THE COUNTY OF WAYNE


          GIOVANNA TALMADGE,

                            Plaintiff,
                                                                   File No. 21-          -NO
          v
                                                                   Hon.
          LOWE'S COMPANIES,INC.,

                            Defendant.                             E-FILING CASE


          Thomas H.Blaske(P26760)
          John F. Turck IV(P67670)
          BLASKE & BLASKE,P.L.C.
          Attorneys for Plaintiff
          Thomas H.Blaske(P26760)
          1327 Jones Drive, Suite 105
          Ann Arbor, MI48105
          (734)747-7055




                                             JURY DEMAND
                Plaintiff, by and through her attorneys, demands a jury trial in this case.



          Dated: June 24,2021                                     /s/ John F. Turck N
                                                                  Thomas H. Blaske(P26760)
                                                                  John F. Turck N(P67670)
                                                                  BLASKE & BLASKE,P.L.C.
                                                                  Attorneys for Plaintiff
                                                                   1327 Jones Drive, Suite 105
                                                                  Ann Arbor, Michigan 48105
                                                                  (734)747-7055
                   Sterling Harrison   Case 2:21-cv-11745-LVP-KGA ECF No. 1-1, PageID.24 Filed 07/28/21 Page 13 of 14




                                                                            STATE OF MICHIGAN

                                                           IN THE CIRCUIT COURT FOR THE COUNTY OF WAYNE

                                        GIOVANNA TALMADGE,                                 Case No.21-007709-NO
               7/26/2021 8:50 PM




                                                      Plaintiff,                           Honorable Brian R. Sullivan
                                        v

                                        LOWE'S COMPANIES,INC.,

                                                     Defendant.

                                        THOMAS H. BLASKE (P26760)                     RIDLEY S. NIMMO,II (P54783)
         WAYNE COUNTY CLERK




                                        JOHN F. TURCK IV(P67670)                      PLUNKETT COONEY
                                        BLASKE & BLASKE,P.L.C.                        Attorneys for Defendant
                                        Attorneys for Plaintiff                       111 E. Court Street, Suite 1B
                                        1327 Jones Drive, Suite 105                   Flint, MI 48502
                                        Ann Arbor, MI 48105                           (810) 342-7010
                                        (734) 747-7055                                (810) 232-3159 fax
                                        thb@blaske.com                                rnimmo@plunkettcooney.com
                                        jt4@blaske.com

                                                STIPULATED ORDER TO AMEND CAPTION.SUBSTITUTION OF PARTY
                                                      AS TO THE IMPROPERLY-NAMED PARTY DEFENDANT

                                                                   At a session of said Court held in Wayne
     Cathy M. Garrett




                                                                     County, City of Detroit, and State of
                                                                      Michigan on 7/26/2021 , 2021

                                              PRESENT: HONORABLE BRIAN R. SULLIVAN, Wayne County Circuit Court Judge

                                              This matter having come before the Court upon the stipulation of the parties, as

                                       evidenced by the signatures of their respective counsel hereto, to correct Plaintiffs
1i-UU//09-NO FILED IN MY OFFICE




                                       Complaint to substitute Defendant LOWE'S HOME CENTERS, LLC, as the proper party

                                       Defendant in the place and stead of LOWE'S COMPANIES, INC., improperly named therein,

                                       and with the Court being otherwise fully advised:

                                             IT IS HEREBY ORDERED that the caption shall be amended and that LOWE'S HOME

                                       CENTERS, LLC, shall be herein substituted as the proper party Defendant in this cause of
Case 2:21-cv-11745-LVP-KGA ECF No. 1-1, PageID.25 Filed 07/28/21 Page 14 of 14




 action in the place and stead of LOWE'S COMPANIES, INC., as the same pertains to

 Plaintiff's Complaint, other initial filings by the parties, with respect to Case No. 21-

 007709-NO, now pending in this Court.

         This is not a final order and does not close this case.

                                                    /s/ Brian R. Sullivan 7/26/2021
                                                     Brian R. Sullivan, Wayne County
                                                     Circuit Court Judge
                                                     Dated:



 Stipulated and agreed to by:

    BLASKE & BLASKE,P.L.C.                            PLUNKETT COONEY

 By:/s/ Thomas H. Blaske (with permission)        By:/s/ Ridley S. Nimmo, 11
    THOMAS H. BLASKE (P26760)                        RIDLEY S. NIMMO,II (P54783)
    JOHN F. TURCK IV (P67670)                        Attorneys for Defendant
    Attorneys for Plaintiff                          Dated: 7/21/21
    Dated: 7/21/21




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